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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

Case No.     CV 23-00803-SPG-JPR                                         Date   October 25, 2023
Title        Rosey Fletcher et al v. Peter Foley et al




 Present: The Honorable         SHERILYN PEACE GARNETT
                                UNITED STATES DISTRICT JUDGE
                Patricia Gomez                                       Leslie Schramm
                 Deputy Clerk                                        Court Recorder
           Attorneys Present for Plaintiff:                Attorneys Present for Defendants:
                 Alison Anderson                                      Abram Moore
                 Alisha Morcieau                                    Lindsey Barnhart
                   Kenya Davis                                        Zach Glasser
                 Sigrid McCawley                                     Cassidy Young

 Proceeding:       DEFENDANT PETER FOLEY'S MOTION TO DISMISS PLAINTIFFS'
                   FIRST AMENDED COMPLAINT [78]

                   MOTION TO DISMISS PURSUANT TO FRCP 12(b)(2) and 12(b)(6) [80]

                   DEFENDANT UNITED STATES SKI & SNOWBOARD'S MOTION TO
                   DISMISS FIRST AMENDED COMPLAINT [81]



 Case called, and counsel make their appearance. The Court has reviewed all filed
 materials and requests parties to elaborate on the issues of personal and specific
 jurisdiction. The Court’s tentative is plaintiff has not shown or proven general or
 specific jurisdiction. For reasons stated on the record, the Court takes the matter under
 submission. An order will issue.




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                                                         Initials of Preparer   PG




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